Case 1:14-cr-00044-LG-RHW   Document 260   Filed 12/18/14   Page 1 of 6
Case 1:14-cr-00044-LG-RHW   Document 260   Filed 12/18/14   Page 2 of 6
Case 1:14-cr-00044-LG-RHW   Document 260   Filed 12/18/14   Page 3 of 6
Case 1:14-cr-00044-LG-RHW   Document 260   Filed 12/18/14   Page 4 of 6
Case 1:14-cr-00044-LG-RHW   Document 260   Filed 12/18/14   Page 5 of 6
Case 1:14-cr-00044-LG-RHW   Document 260   Filed 12/18/14   Page 6 of 6
